

ORDER

PER CURIAM:
AND NOW, this 20th day of January, 2000, Richard S. Gonick having been suspended for an indefinite period of time from the practice of law in the Commonwealth of Massachusetts by Order of the Massachusetts Supreme Judicial Court for Suffolk County entered July 23, 1999; the said Richard S. Gonick having been directed on November 22, 1999, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Richard S. Gonick is suspended from the practice of law in this Commonwealth consistent with the Order of the Massachusetts Supreme Judicial Court for Suffolk County entered July 23, 1999, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
